     Case 4:20-cr-00056-RSB-CLR Document 241 Filed 10/30/20 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
UNITED STATES OF AMERICA,             )
                                      )
v.                                    )               4:20cr56-7
                                                   CR ̴̴̴̴̴̴̴̴̴̴̴̴̴̴
                                      )
YING LE PANG,                         )
                                      )
      DefendantǤ                      )
                                      )

                                     ORDER

      Pursuant to the recently enacted Due Process Protections Act, Pub. L.

116-182, 134 Stat. 894 (2020), and its revisions to Federal Rule of Criminal

Procedure 5(f)(1), id. § 2, the Court hereby “confirms the disclosure obligation

of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny

. . .,” id. An exhaustive presentation of all the “possible consequence of violating

[this Order] under applicable law,” id., is not feasible in this context. Beyond

the obvious possibility of exposing the United States Attorney’s Office to

charges of prosecutorial misconduct, Brady violations also portend serious

consequences to the Government’s case. A prominent treatise summarizes

these as including, but not limited to, a new trial and, in particularly flagrant

cases, dismissal. See 2 ANDREW D. LEIPOLD, FEDERAL PRACTICE AND PROCEDURE § 256

(4th ed. 2020); cf. United States v. Nejad, ___ F. Supp. 3d ___, 2020 WL 5549931
     Case 4:20-cr-00056-RSB-CLR Document 241 Filed 10/30/20 Page 2 of 2




(S.D.N.Y. Sept. 16, 2020) (explaining, in a case involving serious misconduct by

prosecutors, including withholding evidence, that “[t]he cost of such

Government misconduct is high. With each misstep the public faith in the

criminal-justice system further erodes.      With each document wrongfully

withheld, an innocent person faces the chance of a wrongful conviction. And

with each unforced Government error, the likelihood grows that a reviewing

court will be forced to reverse a conviction or even dismiss an indictment,

resulting in wasted resources, delayed justice, and individuals guilty of crimes

potentially going unpunished.”). Given this confirmation, the Court anticipates

that no generalized motions seeking assurance of the Government’s compliance

with its obligations under Brady and its progeny will be necessary.

      SO ORDERED, this
                       30thday of October, 2020.




                                    __________
                                      _      ______________________
                                    ______________________________
                                    CHRISTO HER L. RAY
                                     HRISTOPHER
                                         T PH
                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




                                       2
